Autism Awareness

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What is Autism?

» Dictionary version: A developmental disorder of variable severity that is
characterized by difficulty in social interaction and communication and by
restricted or repetitive patterns of thought and behavior.

» Autism Network version: Autism, or autism spectrum disorder (ASD), refers to
a broad range of conditions characterized by challenges with social skills,
repetitive behaviors, speech and nonverbal communication.

What does someone with Autism look like?
|

MOZART IS SAID TO HAVE HAD
REPEATED FACIAL EXPRESSIONS
AND WAS INNEEO OF CONSTANT
MOTION OF HIS HANDS AND
FEET. HIS HEARING WAS ALSO

woureaneanapeuswmozaat Y= ®Y SENSITIVE.

GOING TO THE ACADEMY
AWARDS WAS SO PAINFUL FOR ME.
I'D ALMOST FAINT JUST

WALKING DOWN THE RED CARPET

WEALLKMOW FRE SOUP CANS, RIGHTS =~
THE SIMPLE, TNED AN :
PATTERN DEFINED AN
ENTIRE ERA OF ARI.

DR JUDITH GOULD ~

SUSGESTS THAT WEPSOTS LOVE OF SEPESTOM
WAS ACTUALLY 8 SYMPTOM DF ANISM

MARTY BALIN FOUNDED —
THE PSYCHEDELIC ROCK BAND

JEFFERSON AIRPLANE IN 1985.
THERE ARE MANY CASUAL REFERENCES

ONLINE TO HIM ASA

Ae
“SINGER WHO GVERCAME PARTIAL

DAN HARMON AUTISM AS A YOUNG CHILD.

IN A BIOGRAPHY BY POPPY Z,
WE LEARN THAT COURTHEY WAS

WAS DIAGNOSED

BY ONE OF HER THERAPISTS
AS MILDLY AUTISTIC.

JAMES WAS A HERD TO MANY

WHEN HE COMPETED ON
SEASON 10 GF AMERICAN IDGL
AND WAS OPEN ABOUT HIS
TOURETTES AND ASPERGER'S

some SYNDROMES.
TIM'S WIFE,

HELENA BONHAM CARTER,
DIAGNOSED HIM WITH
ASPERGER'S SYNDROME.

coeniee

re OAN IS TRE-CREATOR AND WHITER OF THE
HIT TV SHOW COMMUNITY.
WHILE DEVELOPING ONE OF THE

CHARACTERS ON HIS SHOW,
HE BEGAN RESEARCHING ASPERGER'S
SYNDROME AND REALIZED

THAT ME RELATED 0 THE CHARACTERS ATHSUSo?

DID LEWIS CARROLL HAVE

ASPERGER'S SYNDROME?
HISTORIANS AREN'T EXACTLY SURE,
BST HE OeSPLAYED BFTIAWICA DF SOMEONE

WITH ASPERGER'S

I SYNDROME.

ACTOR DAN AYKROYD
WAS EXPELLED FROM TWO
SCHOOLS FOR ACTING

UP AND A PSYCHIATAIST MAD DIAGNOSED

HIM WITH A MILD
ASPERGER'S SYNDROME.

W AYKOYRD

SIO

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Mr ileda pit

if

ESET

So are they all alike?

>In short NO!

»One person with Autism is not like
others with Autism

How many people have Autism?

» According to the Centers for Disease Control, autism
affects an estimated 1 in 59 children in the United States
today.

» According to Autism Group it is 1 in 40.

» Estimated 3.5 million in the United States

» 4 times more in males

Some common characteristics:

» Sensory Overload

» Uncommon reactions to sounds, lights, touch, smells, etc.
» Speech Pattern

» Echolalia - Vocal repetition of spoken words

» Scripting - Repeats phrases learned

» This does not mean they understand you, they are just repeating.
» Body Movements

» Repetitive movements (hands, legs, feet, head, upper body, rocking, etc.)

Speech continued:

»50% are non-verbal
» Non-verbal does not mean not NOISEY

»Limited
»Can give minimum responses
»Verbal but lack comprehension
»Can give answers but might not understand

» Unusual walking pattern

»Balance issues

» Repetitive Actions
»Stimming

» Poor Listener (Appear)
» Little or No Eye Contact

» Inappropriate Reaction to Situations
» Laughing when afraid

Sensory Impairment
(Hypersensitive)
» Sight
» Hearing
»Smell
» Touch
» Taste

How do we handle this?

>SLOW DOWN AND TAKE YOUR TIME!!!

» Use calm and simple language

» Be literal and specific

» Avoid slang

» Short clear phrases and questions

» Allow time to process what you are saying (don’t expect
immediate results)

Cautions and things to consider when
handling an Autistic incident:

» Home:
» Doors might be locked/barricaded
» Plexiglass or Lexan windows
» Search and Rescue:
» Act like children (Even Adults)
» Roof Runners
» Escape Risk
» Wander off
» Dull to Pain

Missing Considerations

» ASK PARENTS WHAT DO THEY LIKE (Places, food, drink, etc.)
» Check Attractive Hazards:

» Nearest Large Water Sources
> 91% missing die by drowning

» Train Tracks

» Construction Sites

Autism Parents and Caretakers

» Be empathetic because:
» This is not an easy life for them
» Little sleep

» Diagnosis and lifestyle changes are slow

BE THANKFUL FOR WHAT YOU HAVE.

